                  Case 21-11226
     Fill in this information               Doc
                              to identify your    1
                                               case:    Filed 08/26/21 Entered 08/26/21 18:53:17                              Desc Main
                                                          Document     Page 1 of 18
     United States Bankruptcy Court for the:

     ____________________
     District             District of _________________
              of Massachusetts        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                             Chapter 7
                                                            
                                                            ✔ Chapter 11
                                                             Chapter 12                                                                 Check if this is an
                                                             Chapter 13                                                                    amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         NESV    Ice, LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               1395A Commerce Way                                       _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Attleboro                   MA      02703
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Bristol County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                 www.nesportsvillage.com
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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                NESV Ice, LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            531390
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                      income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                          statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a                      NESV Swim, LLC                                              Affiliate
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               District of Massachusetts
                                                   District _____________________________________________ When               08/26/21
                                                                                                                            __________________
      List all cases. If more than 1,                                                                                       MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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               NESV Ice, LLC
Debtor         _______________________________________________________                         Case number (if known)_____________________________________
               Name




11. Why is the case filed in this         Check all that apply:
   district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ✔

                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                               district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                           ✔




12. Does the debtor own or have           
                                          ✔ No
   possession of any real                  Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                             Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                        What is the hazard? _____________________________________________________________________

                                                     It needs to be physically secured or protected from the weather.
                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).

                                                     Other _______________________________________________________________________________


                                                    Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______     ________________
                                                                                City                                         State       ZIP Code


                                                    Is the property insured?
                                                     No
                                                     Yes. Insurance agency ____________________________________________________________________
                                                             Contact name       ____________________________________________________________________

                                                             Phone              ________________________________




          St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                Check one:
   available funds                         Funds will be available for distribution to unsecured creditors.
                                           ✔


                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                           1-49
                                           ✔
                                                                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                           50-99                            5,001-10,000                            50,001-100,000
   creditors
                                           100-199                          10,001-25,000                           More than 100,000
                                           200-999

                                           $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                           $50,001-$100,000                 $10,000,001-$50 million
                                                                            ✔
                                                                                                                      $1,000,000,001-$10 billion
                                           $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                           $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
             Case 21-11226              Doc 1           Filed 08/26/21 Entered 08/26/21 18:53:17                               Desc Main
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             NESV Ice, LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million
                                                                                 ✔
                                                                                                                        $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            08/26/2021
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Stuart Silberberg
                                             _____________________________________________               Stuart Silberberg
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    Manager
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ William McMahon
                                             _____________________________________________              Date         08/26/2021
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              William McMahon
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Downes McMahon LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                              215 Lewis Wharf
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Boston
                                             ____________________________________________________             MA            02110
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              6176006430
                                             ____________________________________                              wmcmahon@dmlawllp.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              651832                                                          MA
                                             ______________________________________________________ ____________
                                             Bar number                                             State




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               NESV Ice, LLC
                                                      Document     Page 6 of 18
 Debtor                                                             _                  Case number (if known)
              First Name   Middle Name      Last Name



                                                 Continuation Sheet for Official Form 201
10) Pending Bankruptcies

NESV Tennis, LLC                  District of                   08/26/2021
                                  Massachusetts

NESV Land East, LLC               District of                   08/26/2021
                                  Massachusetts

NESV Field, LLC                   District of                   08/26/2021
                                  Massachusetts

NESV Land, LLC                    District of                   08/26/2021
                                  Massachusetts

NESV Hotel, LLC                   District of                   08/26/2021
                                  Massachusetts




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy
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                                                                 Document     Page 7 of 18
      Fill in this information to identify the case:

                    NESV Ice, LLC
      Debtor name __________________________________________________________________

                                              District of Massachusetts
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):     _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                     12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete             Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code       and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                               creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                            professional        unliquidated, total claim amount and deduction for value of
                                                                            services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                 Total claim, if    Deduction for     Unsecured
                                                                                                                 partially          value of          claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Ashcroft Sullivan Law                    Michael Sullivan            Services                Disputed
1    200 State Street
     7th Floor
                                                                                                                                                     1,511,180.00
     Boston, MA, 02109


     National Grid                                                        Utility Services
2    P.O. Box 11737
     Newark, NJ, 07101-4737
                                                                                                                                                     316,645.00


     City of Attleboro                        City Treasurer              Taxes & Other
3    77 Park Street                                                       Government Units
     Attleboro, MA, 02703
                                                                                                                                                     262,289.00


     WB Mason                                                             Suppliers or Vendors
4    59 Centre St.
     Brockton, MA, 02301                                                                                                                             8,785.00


     Columbia Gas                                                         Utility Services
5    P.O. Box 55215
     Boston, MA, 02205-5215                                                                                                                          7,229.00


     JBH Advisory, LLC                                                    Services
6    62 Forge River Park
     Raynham, MA, 02767                                                                                                                              5,000.00


     Likarr Maintenance Syatems                                           Services
7    6 Perry Drive
     Foxboro, MA, 02035                                                                                                                              2,919.00


     Richmonds & Co., Inc.                                                Legal services
8    44 Washington Street
     Wellesley Hills, MA, 02481                                                                                                                      2,374.00




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
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                   NESV Ice, LLC
    Debtor        _______________________________________________________                   Case number (if known)_____________________________________
                  Name




     Name of creditor and complete         Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code   and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                           creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                        professional        unliquidated, total claim amount and deduction for value of
                                                                        services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                             Total claim, if    Deduction for     Unsecured
                                                                                                             partially          value of          claim
                                                                                                             secured            collateral or
                                                                                                                                setoff
     PKF O'Connor Davies                                              Accounting services
9    40 Westminster Street
     #600                                                                                                                                        700.00
     Providence, RI, 02903

     Sturdy Memorial Hospital                                         Services
10 211 Park Street
     Attleboro, MA, 02703                                                                                                                        469.00




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              page 2
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Abigail B. Arguin                                        Brendan G. McNeil
941 Russells Mills Road                                  32 Homeward Lane
South Dartmouth, MA 02748                                North Attleboro, MA 02760


Accugrind                                                Brendan Murphy
12 Industrial Park Rd.                                   28 Marshall Avenue
Falmouth, MA 01540                                       Mansfield, MA 02048


Alexandar D. Tertyshay                                   Brett P. Tibbetts
529 Greeenhill Lane                                      10 Balsam Lane
Philadelphia, PA 19128                                   Smithfield, RI 02917


Alison S. Quinn                                          Brian A. Larence
14 Louise Street                                         8 Steere Road
Canton, MA 02021                                         Cumberland, RI 02864


Alivia H. Fitzgibbons                                    Brynn Leahy
312 Steere Street                                        6 Patlena Drive
Attleboro, MA 02703                                      Norton, MA 02766


Anastasia Potenza                                        Carissa N. Rego
11 Fletcher Street                                       18 Greg Drive
Foxboro, MA 02035                                        Bristol, RI 02809


Ashcroft Sullivan Law                                    Cassandra A. Goyette
200 State Street                                         12 Goff Road
7th Floor                                                Norton, MA 02766
Boston, MA 02109

                                                         Cassidy L. Toth
Ashcroft Sullivan Sports Village Lender, LLC             75 Pinehurst Ave
200 State Street                                         Providence, RI 02908
7th Floor
Boston, MA 02109
                                                         Christopher C. Miler, Esq., Prince Lobel Tye
                                                         One International Place
Athletic Performance Training Systems                    Suite 3700
9 Technology Park Drive                                  Boston, MA 02110
East Falmouth, MA 02536

                                                         City of Attleboro
Attleboro High School                                    77 Park Street
100 Rathbur Willard Dr.                                  Attleboro, MA 02703
Attn. Mr. Houle
Attleboro, MA 02703
                                                         Columbia Gas
                                                         P.O. Box 55215
Bishop Feehan High School                                Boston, MA 02205-5215
70 Holcott Dr.
Attn. Mr. O'Boy
Attleboro, MA 02703                                      Comcast
                                                         P.O. Box 37601
                                                         Philadelphia, PA 19101-0601
Brad C Grant
14 Janet Lane
Mansfield, MA 02048
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Connor Cohen                                           James Ghisalbert
48 Harvey Street                                       64 Broad Street
Norton, MA 02766                                       North Attleboro, MA 02760


Construction Source Management, LLC                    James P. Murray
33 Commercial St.                                      859 E. 1st Street
Raynham, MA 02767                                      Apt. 1
                                                       Boston, MA 02127

Corey Mackin
3462 Vinton Road                                       Janelle L. Kelleher
Philadelphia, PA 19154                                 42 Longfellow Road
                                                       Norwood, MA 02062

Dighton Rehoboth High School
2700 Regional Rd.                                      Jarod Balzarini
Attn. Mr. Kelley                                       5 Bradford Road
North Dighton, MA 02764                                Milford, MA 01757


Emma C. Gerike                                         JBH Advisory, LLC
69 E. Union Street                                     62 Forge River Park
Bordentown, NJ 08505                                   Raynham, MA 02767


Erin P. Shaheen                                        Jenna Desmarais
526 Read Street                                        47 Anna Court
Attleboro, MA 02703                                    Seekonk, MA 02771


Francis X. Mackin                                      Johnson & Wales University
38 Kristee Circle                                      8 Abbot Park Place
West Warwick, RI 02893                                 Attn. Mr. Izzi
                                                       Providence, RI 02903

Gavin Arabian
39 Fales Road                                          Jonathan E. Stahl
North Attleboro, MA 02760                              14 Longwalk Road
                                                       Franklin, MA 02038

Giuseppina Menzel
39 Granite Road                                        Joseph C. Consalvo
Middleboro, MA 02346                                   35 Hevey Road
                                                       North Attleboro, MA 02760

Green Street Solar Power
1360 Garrison Avenue                                   Joseph Troiano
Attn. Mr. Kerner                                       18 Millstone Court
Bronx, NY 10474                                        Mansfield, MA 02048


Hannah Bachand                                         Joshua Cohen
175 LYMAN STREET                                       48 Harvey Street
North Attleboro, MA 02760                              Norton, MA 02766


Jacob Balzarini                                        Justin M. Droney
5 Bradford Road                                        112 Pearl Street
Milford, MA 01757                                      North Attleboro, MA 02760
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Kylie Pleau                                          Mitchell S. Whittingham
35 River Drive                                       8 Twins Circle
Attleboro, MA 02703                                  Attleboro, MA 02703


Liam P. McCanney                                     National Grid
214 North Elm Avenue                                 P.O. Box 11737
Aldan, PA 19018                                      Newark, NJ 07101-4737


Likarr Maintenance Syatems                           Nicholas Wracker
6 Perry Drive                                        160 Southwell Road
Foxboro, MA 02035                                    Columbia, SC 29210


Logan R. Bruns                                       North Attleboro High School
5 Meeting House Road                                 1 Wilson W. Whitty Way
Scarborough, ME 04074                                Attn. Mr. Kummer
                                                     North Attleboro, MA 02760

Lovell's Hockey Schools, Inc.
235 Summer Street                                    North Attleboro Hockey Association, Inc.
Attn. Mr. Lovell                                     50 Juniper Road
Hingham, MA 02043                                    Attn. Ms. McTern
                                                     North Attleboro, MA 02760

Maleah Gillette
312 Chestnut Hill Road                               Northeast Generals, LLC
Wakefield, RI 02879                                  1395 Commerce Way
                                                     Attn. Mr. Erikson
                                                     Attleboro, MA 02703
Mason J. Briggs
38 Jon C. Barry Drive
North Attleboro, MA 02760                            Ocean State Ice Theater
                                                     101 Higginson Avenue
                                                     Suite 109C
Matthew Jacobs                                       Lincoln, RI 02865
6 Hara Street
Worcester, MA 01604
                                                     Owen L. Couture
                                                     32 Dale Street
Meghan A. Amato                                      Franklin, MA 02038
6 Uplands Woods Circle
Apt 111
Norwood, MA 02062                                    Parents for Attleboro Hockey, Inc.
                                                     P.O. Box 3306
                                                     Attleboro, MA 02703
Meghan F. Maguire
92 Zachary Lane
Attleboro, MA 02703                                  Performance Physical Therapy
                                                     1395 Commerce Way
                                                     Attleboro, MA 02703
Michael Balzarini
5 Bradford Road
Milford, MA 01757                                    PKF O'Connor Davies
                                                     40 Westminster Street
                                                     Providence, RI 02903
Michael J Donovan
53 Newcombs Mill Road
Kingston, MA 02364                                   Richard E. Boysen
                                                     1 Longview Drive
                                                     Belle Vernon, PA 15012
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Richard P. Rossignol                                      Tori Mercer
10 Samuel Way                                             525 Marion Ave
Attleboro, MA 02703                                       Dighton, MA 02715


Richmonds & Co., Inc.                                     Triton DosReis
44 Washington Street                                      75 Elm Street
Wellesley Hills, MA 02481                                 Norton, MA 02766


RiLo Donuts, Inc.                                         Waste Network, LLC
P..O. Box 9                                               17 Country Club Circle
Barrington, RI 02806                                      Pembroke, MA 02359


Robert J. Reilly                                          WB Mason
7 Upland Woods Circle                                     59 Centre St.
Apt 7206                                                  Brockton, MA 02301
Norwood, MA 02062

                                                          William A. Whitfield IV
Rosie DeOliveira                                          27 Oak Street Ext.
27 Heaton Street                                          Franklin, MA 02038
Pawtucket, RI 02860

                                                          William McCommis
Ryan T. Patsch                                            14 Falcon Drive
415 South Main Street                                     Attleboro, MA 02703
Sharon, MA 02067

                                                          Zachery R. Cappelli
SHS ACK, LLC                                              180 Waterman Ave.
c/o Curran Antonelli, LLP                                 Unit 104
10 Post Office Square, Suite 800 South                    North Providence, RI 02911
Boston, MA 02109


Sturdy Memorial Hospital
211 Park Street
Attleboro, MA 02703


Tessa P. Jones
97 Fisher Street
Westwood, MA 02090


The Barn Food and Spirits
1395 Commerce Way
Attleboro, MA 02703


Thomas Lydon
1544 West Street
Attleboro, MA 02703


Title Boxing
1395 Commerce Way
Attleboro, MA 02703
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                          UNITED STATES BANKRUPTCY COURT
                                       Massachusetts
                           DISTRICT OF _____________________




In re NESV Ice, LLC                                    Case No.
                                                       Chapter 11

                          (Debtor(s)


                 CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate
                                                                    NESV Ice, LLC
possible disqualification or recusal, the undersigned counsel for

in the above captioned action, certifies that the following is a (are) corporation(s), other than the

debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the

corporation(s’) equity interests, or states that there are no entities to report under FRBP 7007:


       None [check if applicable]


 Ajax 5Cap NESV, LLC



08/26/2021                                              William McMahon
Date                                                     Statement of attorney or Litigant
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